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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

MDLNO. 1456.
C.A. No. 01-CV-12257 (PBS)

IN RE PHARMACEUTICAL INDUSTRY AVERAGE
WHOLESALE PRICE LITIGATION

THIS DOCUMENT RELATES TO: HON. PATTI B. SARIS

COUNTY OF SUFFOLK,
Plaintiff,
Vv.

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ABBOTT LABORATORIES, INC., AGOURON )
PHARMACEUTICALS, INC., AMGEN, INC., )
ASTRAZENECA PHARMACEUTICALS L.P., J
ASTRAZENACA US, AVENTIS BEHRING, )
AVENTIS PHARMACEUTICALS INC., BARR )
LABORATORIES, INC., BAYER AG, BERLEX )
LABORATORIES, INC., BIOGEN, INC., BRISTOL }
MYERS SQUIBB COMPANY, ELI LILLY AND )
COMPANY, FUJISAWA PHARMACEUTICAL )
COMPANY, LTD., GENENTECH, INC., GLAXO )
WELLCOME, P.L.C., GLAXOSMITHKLINE PLC, )
IMMUNEX CORPORATION, IVAX )
CORPORATION, IVAX PHARMACEUTICALS )
INC., JANSSEN PHARMACEUTICAL, JOHNSON & )
JOHNSON, MEDIMMUNE, INC., MERCK & CO., )
INC., NOVARTIS PHARMACEUTICALS )
CORPORATION, ORTHO BIOTECH, ORTHO )
MCNEIL PHARMACEUTICALS, PFIZER INC., )
PHARMACIA CORPORATION, PURDUE )
PHARMA, L.P., RELIANT PHARMACEUTICALS, )
SANOFI-SYNTHELABO, INC., SCHERING- )
PLOUGH CORP., SMITHKLINEBEECHAM P.L.C, )
TAP PHARMACEUTICALS, WARRICK )
PHARMACEUTICALS, WYETH, AND DOES 1-100,  )
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Defendants.

CONSOLIDATED MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
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Preliminary Statement

Plaintiff Suffolk County (the “County” or “Suffolk”) alleges that defendants! have
caused New York State to overpay for Medicaid drugs and that the County, which is billed for a
share of the State’s expenditures, has thus overpaid as well. First, plaintiff contends that the
State pays retail pharmacists too much because the reimbursement formula for prescriptions they
fill is based in part on drugs’ “average wholesale price” (‘AWP”) as reflected in trade
publications and defendants allegedly have fraudulently inflated those AWPs. Second, plaintiff
contends that defendants have misreported to the federal Secretary of Health and Human
Services (the “Secretary”) prices that form the basis of “rebates” paid by defendants to New
York (and other states) pursuant to the Medicaid statute and defendants’ contracts with the
Secretary (“Rebate Agreements”).

Suffolk admits that it has no input into the process by which the State determines
how much it will pay for Medicaid drugs. At best, the County is an “indirect purchaser” of
Medicaid drugs -- one of a total of 58 counties in the State of New York. Suffolk’s injury, if
any, is entirely derivative of that of the State.

New York State has already sued certain of the defendants in this case making
allegations similar to those made here. Those cases are presently before this Court. Suffolk does
not have independent standing to sue; if it did, there would be a serious risk of double recoveries
and inconsistent judgments.

Even if Suffolk had standing to sue, however, its AWP claims should be

dismissed. First, the County’s RICO claims are virtually identical to those alleged in the Master
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Consolidated Complaint, which have already been dismissed, and in the Amended Master
Consolidated Complaint, which (defendants submit) should also be dismissed. Second, it is
undisputed that New York knows that AWPs do not represent pharmacists’ actual acquisition
costs of Medicaid drugs; indeed, that is why the State reimburses under Medicaid at AWP minus
12%. Suffolk’s complaint is that the discount should be even greater. Suffolk does not allege
that defendants have in any way interfered with New York’s setting of the discount. Under the
circumstances, therefore, there is no basis for a claim of fraud.

Suffolk’s rebate claims are both procedurally and substantively flawed, as well.
The federal rebate statute and the defendants’ Rebate Agreements with the Secretary under
which the County sues do not give the states, let alone a political subdivision of a state, a private
right of action. To the extent that Suffolk instead seeks to sue defendants for violation of the
rebate statute or Rebate Agreements under New York state law, those claims are preempted by
federal law. Moreover, Suffolk’s claim that defendants have misreported their prices to the
Secretary is totally devoid of any particulars. Rather, plaintiff baldly claims that its “initial
research” indicates that misreporting is “pervasive” in the industry. (Am. Compl. 13.) This is
not sufficient under Fed. R. Civ. P. 9(b).

In short, Suffolk County is not a proper party and its claims of AWP fraud and
rebate misreporting are not only insufficiently pled but are belied by the Amended Complaint

itself. The case should be dismissed.

1 Only those defendant companies upon whom plaintiff has effected service join in the instant
motion to dismiss. Suffolk has not effected service upon Bayer AG and Immunex and thus
neither company joins in the instant motion.
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Factual Background?

The Federal Medicaid Program And The States’ Roles Generally

Medicaid is a “grant-in-aid” program in which the federal government reimburses
states for a substantial portion of the costs incurred by them in providing medical assistance to
qualifying low-income persons. See 42 U.S.C. § 1396 ef seq. (2003). All 50 states have
Medicaid programs that provide a prescription drug benefit.3 In contrast to the Medicare
program, which covers only limited categories of drugs, Medicaid drug benefits generally
include most prescription drugs dispensed at retail pharmacies, as well as drugs administered by
physicians. Furthermore, while “Average Wholesale Price”, or “AWP”, is a term that appears
(albeit undefined) in the federal Medicare statute, it does not appear in the federal Medicaid
statute. Indeed, the federal agency responsible for Medicaid, the Center for Medicare and
Medicaid Services (“CMS”), formerly known as the Health Care Financing Administration, or
“HCFA”, has repeatedly warned states not to rely on AWP in determining reimbursement rates
for prescription drugs. See Louisiana v. Dep't of Health & Human Servs., 905 F.2d 877, 880
(5th Cir. 1990).

Under Federal law, state Medicaid agencies may not pay more for prescribed
drugs than the limits imposed by CMS. 42 C.F.R. § 447.333(b)(2) (2003). For certain “multiple
source” drugs, the federal government will reimburse the states no more than a reasonable

dispensing fee plus an amount that is 150% of the published price for the /east costly therapeutic

2 For the Court’s convenience, some of the regulations, administrative interpretations and other
public documents mentioned in this fact section are included in the Appendix submitted
herewith. Citations to the Appendix appear as “Defs. App. Ex...”

3 See Medicaid Prescription Reimbursement Information by State - Qtr Ending June 2003,
available at http://www.cms.hhs.gov/medicaid/drugs/prescriptions.asp (last visited September
14, 2003).

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equivalent that can be purchased by pharmacists in standard quantities (e.g., 100 tablet amounts).
42 C.F.R. § 447.332(b) (2003). For all other drugs, 7e., single source drugs or multiple source
drugs for which no upper limit has been established, the state may pay the /ower of the
“[e]stimated acquisition cost” or “EAC” of the drug (plus a reasonable dispensing fee as
established by the state Medicaid agency) or the providers’ usual and customary charges to the
general public. 42 C.F.R. § 447.331(b) (2003). EAC is defined as the state Medicaid agency’s
“best estimate of the price generally and currently paid by providers for a drug marketed or sold
by a particular manufacturer or labeler in the package size most frequently purchased by
providers.” 42 C.F.R. § 447.301 (2003).

Although federal EAC regulations do not require a state to ascertain precisely a
Medicaid provider’s actual acquisition cost for a drug, the “intent of [the final Medicaid]
regulations on drug reimbursement is to have each state’s estimated acquisition cost as close as
feasible to the price generally and currently paid by the provider.” Title XIX, Social Security
Act: Limitation on Payment or Reimbursement for Drugs: Estimated Acquisition Cost (EAC),

HFCA Action Transmittal No. 77-13 (MMB), reprinted in Medicare & Medicaid Guide (CCH)

€ 28,714 (Dec. 13, 1977) (Defs. App. Ex. A). HCFA has encouraged each state’s “program

4 In 1974, the Department of Health, Education, and Welfare “HEW”) explained that it intended
to discontinue the use of AWP as a benchmark for Medicaid drug payment because AWPs “are
frequently in excess of actual acquisition cost to the retail pharmacist.” Proposed
Reimbursement of Drug Cost, 39 Fed. Reg. 41,480 (Nov. 27, 1974) (Defs. App. Ex. B). Instead,
“to achieve maximum savings to the Medicaid program,” the agency initially proposed to forego
AWP in favor of “actual acquisition cost” (“AAC”). id. In comments on the proposed rule,
many pharmacists requested that the agency let state Medicaid agencies continue to reimburse
based on AWP as a means of boosting “pharmacy income.” Limits on Payments for Drugs, 40
Fed. Reg. 34,516, 34,518 (Aug. 15, 1975) (Defs. App. Ex. C). HEW rejected the pharmacists’
request because “AWP data are frequently inflated. The purpose of the proposed regulations
[based on AAC] was to achieve savings. The final regulations [based on EAC] have been
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administrator [to] re-evaluate the state’s method of setting EAC limits for the [state’s Medicaid]

drug program to assure that drug reimbursement limits are as close as feasible to Actual

Acquisition Cost.” Id.

Since issuing the final Medicaid regulations, HCFA has regularly warned the
states nof to rely on AWP as a proxy for EAC. As HHS’s Office of Inspector General (“HHS
OIG”) noted, “[w]ithin the pharmaceutical industry, AWP means non-discounted list price.
Pharmacies [actually] purchase drugs at prices that are discounted significantly below AWP or
list price.” Title XIX of the Social Security Act, Limitation on Payment or Reimbursement for
Drugs, Medicaid Transmittal No. 84-12, reprinted in Medicare & Medicaid Guide (CCH)

4 34,157, at 10,193 (Sept. 1984) (Defs. App. Ex. D) (emphasis added). That HHS OIG report
continued:
[P]harmacies do not purchase drugs at the AWP published in the “Bluebook,”
“Redbook” or other similar publications. Thus, AWP cannot be the best -- or
even an adequate -- estimate of the prices providers generally are paying for
drugs. AWP represents the list price and often does not reflect several types of
discounts, such as prompt payment discounts, total order discounts, end-of-year

discounts and any other trade discounts, rebates or free goods that do not appear
on the pharmacists’ invoices.

Id. at 10,206.°

modified to take into account some of the administrative problems of States in determining
AAC.” Id.

5 As discussed below, New York has decided to reimburse certain drugs only at the Medicaid
provider’s actual acquisition cost. This shows that New York knows how to limit remmbursement
to actual cost when it wishes to do so.

6 HHS issued a similar report in 1989. See HHS OIG Report, “Use of Average Wholesale Prices
in Reimbursing Pharmacies in Medicaid and the Medicare Prescription Drug Program”, A-06-
89-00037 (Oct. 1989), reprinted in Medicare & Medicaid Guide (CCH) { 38,215 (1990) (Defs.
App. Ex. E).
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When HHS issued a revision to the State Medicaid Manual in 1989, it
disapproved the proposed Medicaid plans of states that used undiscounted AWP (i.e., 100% of
AWP) as the proxy for the statutory FAC drug reimbursement rate, and in several cases HCFA
refused to pay the states the federal share of Medicaid drug dollars because of the states’ reliance
on AWP. See Louisiana v. Dep’t of Health & Human Servs., 905 F.2d 877 (Sth Cir. 1990); fn re

Arkansas Dep’t of Human Servs., 1991 WL 634857 (HHS Dept. App. Bd. Aug. 22, 1991); in re

Oklahoma Dep’t of Human Servs., 1991 WL 634860 (HHS Dept. App. Bd. Aug. 13, 1991). See
also Rite Aid of Pa., Inc. v. Houstoun, 17) F.3d 842, 847 (3d Cir. 1999) (noting that “[t]he
HCFA informed [Pennsylvania] that it would not accept AWP levels for ‘EAC without a
significant discount being applied,’ unless the [State] provided documentation that the actual
acquisition cost equaled the full AWP.”).

The “Best Price” Provisions — Rebates For The Government Payors

Congress took action in 1990 to reform the Medicaid scheme. It placed a four-
year moratorium on changes to states’ reimbursement methodologies, see Omnibus Budget
Reconciliation Act of 1990, as amended, codified at 42 U.S.C. § 1396r-8(e), and adopted the
Medicaid rebate statute, 42 U.S.C. § 1396r-8 (2003); see Nebraska Pharmacists Assoc. v.
Nebraska Dep't of Soc. Servs., 863 F. Supp. 1037, 1043 (D. Neb. 1994) (discussing
Congressional actions). The rebate statute authorized drug manufacturers to enter into contracts

with CMS to pay rebates to the states on Medicaid drugs, the goal being to reduce the federal

7 In the Louisiana case, the federal government filed a brief stating that “AWP has become like
the ‘sticker price on an automobile. It is the very highest price that anyone would be expected to
pay for a drug product.” Brief of Respondent at 23 n.9, Louisiana v. U.S. Dep't of Health &
Human Servs., 905 F.2d 877 (5th Cir. Jan. 12, 1990) (No. 89-4566) (Defs. App. Ex. F) (emphasis
added). The Fifth Circuit agreed and concluded that HCFA had properly prohibited the state
from using AWP as the basis for EAC. /d. at 877.
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government’s and the states’ Medicaid drug expenditures below providers’ EAC (however
defined by the states) and to parallel more closely the after-discount amounts paid by the
manufacturers’ favored commercial buyers. 42 U.S.C. § 1396r-8(b)(1)(A) (2003).

Under the rebate statute, states are required to include in their Medicaid plans
drugs from those manufacturers that enter into a formal rebate agreement with HCFA/CMS (the
“Rebate Agreement”). A Rebate Agreement requires the manufacturer to submit to the federal
government the “average manufacturer price” (“AMP”) for each of its drugs and the “best price”
(“BP”) at which the drugs are sold. 42 U.S.C. § 1396r-8(b)(3)(A)(i) (2003). Both of these
terms, unlike AWP, are defined by federal statute.8 CMS imports data on AMP and BP into a
statutory formula to compute a quarterly unit rebate amount. Upon receipt of the unit amounts,
the states multiply the figures by the Medicaid quantities or “utilization” of the respective drugs
for the quarter in question and bill the manufacturers accordingly. 42 U.S.C. § 1396r-8(b)(2)(A)
(2003). Under federal law, CMS may share with the states the unit rebate amount, but not the
underlying data relating to AMP and BP. 42 U.S.C. § 1396r-8(b)(3)(D) (2003); form Rebate
Agreement, Section VII. However, the states can derive some of this price data themselves or

call for it under state programs.?

8 “Average manufacturer price” is defined as “the average price paid to the manufacturer for the
drug in the United States by wholesalers for drugs distributed to the retail pharmacy class of
trade, after deducting customary prompt pay discounts.” 42 U.S.C. § 1396r-8(k)(1) (2003).
“Best price” is defined as “the lowest price available from the manufacturer... to any
wholesaler, retailer, provider, health maintenance organization, nonprofit entity, or governmental
entity within the United States... .” 42 U.S.C. § 1396r-8(¢)(1)(C) (2003). The form Rebate
Agreement appears in the Federal Register. “Medicaid Program; Drug Rebate Agreement,” 56
FR 7049, 7050 (Feb. 21, 1991) (Defs. App. Ex. G), also available at
http://www.cms.gov/medicaid/drugs/rebate.pdf (Defs. App. Ex. H).

9 For example, although CMS does not give AMP data to States, the exact AMP or, in some
cases, the maximum AMP can easily be calculated by the states. For non-innovator multiple-
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Under the rebate statute and the Rebate Agreements, the federal government has
authority to audit the price reporting of the drug manufacturers. 42 U.S.C. § 1396r-8(b)(3)(D);
form Rebate Agreement, Section V(d). The statute provides penalties and procedures for
misreporting of prices by the manufacturers. Manufacturers have the right to challenge a state’s
utilization figures through an alternative dispute resolution process. The states’ role in disputes
over rebate amounts is limited to resolution of discrepancies in the “utilization” figures they
provide to the manufacturers; the states have no role in disputes over manufacturers’ price
reporting. The Secretary of HHS is the sole enforcer on this issue.!°

Continuing Review of EAC and AWP

Notwithstanding the advent of the rebate statute and agreements, HHS has
continued to press states to revise how they pay Medicaid providers for drugs in the first
instance. In 1995, HCFA requested HHS OIG to investigate the disparities between AWP and
actual pharmacy acquisition costs for EAC purposes. HHS OIG initially picked 11 states at
random and, based on its research, estimated in 1996 and 1997 that AWPs exceeded invoice

prices for “brand name” drugs by an average of 18.3 % and for “generic” drugs by an average of

source drugs, the per-unit rebate is simply 11% of AMP. 42 U.S.C. § 1396r-8(c)(3} (2003). For
single-source and innovator drugs, the minimum per-unit rebate the states receive is 15% of
AMP. In either case, the states need only divide the per-unit rebate by 11% or 15% to determine
exact or maximum AMP, New York is also able to obtain price discovery directly from
manufacturers under its own statutes. See infra, at 12 (citing N.Y. Soc. Serv. Law § 367-a(7)).

10 As discussed in further detail below, under Section 1396r-8(b)(3)(C)(i), a manufacturer who
fails to provide information on a timely basis is subject to a penalty, the amount of which shall
be increased by $10,000 for each day in which such information is not provided. Ifa
manufacturer knowingly provides false information, it must pay an amount not to exceed
$100,000 for each item of false information. 42 U.S.C. § 1396r-8(b)(3)(C)(ii). The Secretary of
HHS is also authorized to terminate a manufacturer’s rebate agreement “for violation of the
requirements of the agreement or other good cause shown.” 42 U.S.C. 1396r-8(b)(4)(B)(i).
